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EXHIBIT 27
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HOUSE OF LORDS                                                              SESSION 2008-09
                                                                             [2009] UKHL 38
                                                                    on appealfiw11:[2008} EWCA Ci, , 183




                      OPINIONS
               OF THE LORDS OF APPEAL
               FOR JUDGMENT IN THE CAUSE

Chartbrook Limited (Respondents) v Persimmon Homes Limited
      and others (Appellants) and another (Respondent)



                                  Appellate Committee

                            Lord Hope of Craighead
                                Lord Hoffmann
                           Lord Rodger of Earlsferry
                          Lord Walker of Gestingthorpe
                           Baroness Hale of Richmond
                                                  Counsel
                   Appellant:                                            Respondent:
             Chlistopher Nugee QC                                     Robe1t Miles QC
                Julian Greenhill                                     Tim othy Morshead
   (Instrncted by Mayer Brown International)                    (Instrncted by Caiter-Ruck )



                                               Hearing dates:

                                   31 MARCH, 1 and 2 APRIL 2009


                                     ON
                             WEDNESDAY 1 JULY 2009
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                                  HOUSE OF LORDS

              OPINIONS OF THE LORDS OF APPEAL FOR JUDGMENT
                               IN THE CAUSE

          Chartbrook Limited (Respondents) v Persimmon Homes Limited
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                                    [2009] UKHL 38




         LORD HOPE OF CRAIGHEAD


         My Lords,


         1.      I have had the privilege of reading in draft the opinion of my
         noble and learned friend, Lord Hoffmann . Like my noble and learned
         friend, Lord Walker of Gestingthorpe, whose opinion I have also had the
         privilege of reading, I agree with all his reasoning and I share Lord
         Walker's admiration for the way it has been expressed. For the reasons
         they give I would allow the appeal.


         2.    I agree that Persimmon's argument that the House should take
         account of the pre-contractual negotiations raises an important issue.
         Eve1y so often the rule that prior negotiations are inadmissible comes
         under scrutiny. That is as it should be. One of the strengths of the
         common law is that it can take a fresh look at itself so that it can keep
         pace with changing circumstances. But for the reasons that have been
         set out by Lord Hoffmann I think that the arguments for retaining the
         rule have lost none of their force since Prenn v Simmonds [1971 ] 1
         WLR 1381 demonstrated, as Lord Wilberforce put it at p 1384, the
         disadvantages and danger of departing from established doctrine.


         3.     In the Comt of Appeal Lawrence Collins LJ said that the policy
         reasons for the rnle have not been fully aiticulated: [2008] EWCA Civ
         183, para 106. I am not sure, with respect, that eve1yone would agree
         with him. Lord Gifford did his best to explain what they are in his
         dissenting opinion in Inglis v Buttery (1877) 5 R 58, 69-70. When that
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case came before this House Lord Blackbum said that they set out
exactly what he himself thought: (1878) 3 App Cas 552, 577. As Lord
Gifford explained, the ve1y purpose of a fonnal contract is to put an end
to the disputes which would inevitably arise if the matter were left upon
what the parties said or wrote to each other during the period of their
negotiations. It is the fonnal contract that records their bargain,
however different it may be from what they may have stipulated for
previously


4.      Lord Blackbum clearly saw no conflict between the exclusionaiy
rnle and Lord Justice Clerk Moncreiff s proposition that the Comt was
entitled to be put in the position that the patties stood before they
signed: (1877) 5 R 58, 64. In River Wear Commissioners v Adamson
(1877) 2 App Cas 743, 763 he had already acknowledged that the comt
should look beyond the language of the contract and see what the
circumstances were with reference to which the words were used. As he
put it, the meaning of words varies according to the circumstances with
respect to which they are used. It was the reasons that Lord Gifford
mticulated in Inglis v Buttery (1877) 5 R 58, 69-70, that persuaded him
that to admit evidence of prior negotiations would be a step too far. I
think that what appealed to Lord Blackburn still holds true today. If
more is needed, Lord Hoffmann' s analysis provides it. As he has
indicated, it would only be if your Lordships were confident that the rule
was impeding the proper development of the law or contra1y to public
policy that it would be right for it to be depmted from. That this is so
has not, as I see it, been demonstrated.



LORD HOFFMANN


My Lords,


5.    On 16 October 2001 Chaitbrook Ltd ("Chait brook") entered into
an agreement with Persimmon Homes Ltd ("Persimmon"), a well-
known house-builder, for the development of a site in Wandsworth
which Chmtbrook had recently acquired. The structure of the agreement
was that Persimmon would obtain plmming pe1111ission and then,
pursuant to a licence from Chartbrook, enter into possession, construct a
mixed residential and commercial development (commercial premises
below, flats above, parking in the basement) and sell the properties on
long leases. Chmtbrook would grant the leases at the direction of
Persimmon, which would receive the proceeds for its own account and


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         pay Chmtbrook an agreed price for the land. Planning permission was
         duly granted and the development was built, but there is a dispute over
         the price which became payable.


         6.     Schedule 6 contained the relevm1t provisions. The price was
         defmed as the aggregate of the Total Land Value and the Balancing
         Payment. The Total Land Value was made up of three parts: Total
         Residential Land Value, Total Commercial Land Value and Total
         Residential Cark Parking Land Value. Total Residential Land Value was
         to be £76.34 per square foot multiplied by the area for which planning
         permission for flats was granted. Total Commercial Land Value was
         £38.80 per square foot multiplied by the area for which plam1ing
         permission for shops and other commercial uses was granted. And Total
         Residential Cark Parking Land Value was £3,024 multiplied by the
         number of spaces for which plam1ing permission was granted. The
         Schedule set out the dates upon which the Total Land Value was to be
         paid. In principle, payment would fall due as each flat, shop or parking
         space was sold. But there was also a backstop provis10n for payment of
         specified percentages of the Total Land Value (so far as not already
         paid) by dates commencing about two and a half years after the grant of
         planning permission and ending about two years later, by which time the
         whole sum was due, whether the properties had been sold or not.


         7.      The provrsrons about Total Land Value are all quite
         straightforward and only require the insertion of the appropriate figures
         from the planning permission (which are not in dispute) into the
         fomrnlae provided. The other element in the price is the Balancing
         Payment. For reasons concerned with its drafting history which need not
         be explored, the Schedule defines the Balancing Payment as the
         Additional Residential Payment ("ARP") and then goes on to define the
         latter expression. So when I refer to the ARP, that means the Balancing
         Payment.


         8.    The definition of the ARP, over which the whole dispute turns, is
         outwardly uncomplicated:



               "23 .4% of the price achieved for each Residential Unit in
               excess of the Minimum Guaranteed Residential Unit
               Value less the Costs and Incentives."




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9.     This contains three more defined concepts. Residential Unit
means a flat. The Minimum Guaranteed Residential Unit Value
("MGRUV") means the Total Residential Land Value divided by the
number of flats. And Costs and Incentives ("C & I") mean the
additional expense which Persimmon might have to incur to induce
someone to buy a flat; for example, by providing fittings better than
specification or paying legal expenses. Such payments are economically
equivalent to a reduction in the price achieved.


10.    Chmtbrook says that the meaning of the definition is perfectly
simple. You take the price achieved, deduct the MGRUV and the C & I
and calculate 23.4% of the result. That gives you a figure for an
individual flat which, together the figures for similar calculations on all
the other flats, makes up the ARP or Balancing Payment. That and the
Total Land Value is the price. On the agreed figures, that produces a
Total Land Value of £4,683,565 and an ARP of £4,484,862, making
£9,168,427 in all. The judge (Briggs J) [2007] EWHC 409 (Ch) and a
majority of the Comt of Appeal (Tuckey and Rimer LJJ) l2008J EWCA
Civ 183 agreed.


11.    This constrnction is certainly in accordance with conventional
syntax, at any rate, up to the point at which one decides when C & I
should be deducted. As Briggs J said (at para 53) -



       "ARP means 23.4% of something. To the question '23.4%
       of what? ' the clear answer is the excess of the price
       achieved for each Residential Unit over the MGRUV, less
       the Costs and Incentives."


12.    I do not think that the syntax helps one to decide whether C & I
should be deducted before or after calculating the 23.4%, that is to say,
whether there is a notional pause for breath after "MGRUV",
represented in the passage I have quoted from the judgment by a comma
which does not appear in the contrnct. That is a grammatical ambiguity
which must be resolved by considering the busin ess purpose of
providing for a deduction of C & I. But the judge was clearly right
about the effect of the syntax employed in the first part of the definition.


13.    Persimmon, on the other hand, says that the purpose of dividing
the price into Total Land Value and ARP was to give Chmtbrook a
minimum price for its land, calculated on cmTent market assumptions,


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         and to allow for the possibility of an increase if the market rose and the
         flats sold for more than expected. It is agreed that, at the time of the
         agreement, the pmties expected that a 700 square foot flat would sell for
         about £200,000 or so, maybe slightly more. The MGRUV at £76.34 a
         square foot for such a flat was £53,438 or 26.7% of a price of £200,000.
         If the realised price was £228,000, it would represent 23.4%. The
         purpose of the ARP was to provide that if the flats sold for more than
         £228,000, Chmibrook would be entitled to the amount by which 23.4%
         of the higher price exceeded the £53,438 MGRUV. What the definition
         therefore means is that you deduct C & I from the realised price to arrive
         at the net price received by Persimmon, th en calculate 23.4% of that
         price, and the ARP is the excess of that figure over MGRUV. On this
         calculation, ARP is £897,051, compared with Chmtbrook's claim for
         £4,484,862. In the Cami of Appeal Lawrence Collins LJ, dissenting,
         held that Persimmon's construction was correct.


         14.    There is no dispute that the principles on which a contract (or any
         other instrument or utterance) should be interpreted are those
         summarised by the House of Lords in Investors Compensation Scheme
         Ltd v West Bromwich Building Society [1998] 1 WLR 896, 912-913.
         They are well known and need not be repeated. It is agreed that the
         question is what a reasonable person having all the background
         knowledge which would have been available to the parties would have
         understood them to be using the language in the contract to mean . The
         House emphasised that "we do not easily accept that people have made
         linguistic mistakes, pmiiculm·ly in fo1111al documents" (similar
         statements will be found in Bank of Credit and Commerce International
         SA v Ali [2002] 1 AC 251 , 269, Kirin-Amgen Inc v Hoechst Marion
         Roussel Ltd [2005] RPC 169, 186 and Jumbo King Ltd v Faithful
         Properties Ltd (1999) 2 HKCFAR 279, 296) but said that in some
         cases the context and background drove a comt to the conclusion that
         "something must have gone wrong with the language" . In such a case,
         the law did not require a comt to attribute to the patties an intention
         which a reasonable person would not have understood them to have had.


         15.      It clearly requires a strong case to persuade the comt that
         something must have gone wrong with the language and the judge and
         the majority of the Comt of Appeal did not think that such a case had
         been made out. On the other hand, Lawrence Collins LJ thought it had.
         It is, I am afraid, not unusual that an interpretation which does not strike
         one person as sufficiently irrational to justify a conclusion that there has
         been a linguistic mistake will seem commercially absurd to another:
         compare the Kirin-Amgen case [2005] RPC 169 at pp. 189-190. Such a
         division of opinion occtmed in the Investors Compensation Scheme case


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itself. The subtleties of language are such that no judicial guidelines or
statements of principle can prevent it from sometimes happening. It is
fortunately rare because most draftsmen of formal documents think
about what they are saying and use language with care. But this appears
to be an exceptional case in which the drafting was careless and no one
noticed.


16.    I agree with tl1e dissenting op11110n of Lawrence Collins LJ
because I think that to interpret the definition of ARP in accordance with
ordinaiy rules of syntax makes no commercial sense. The term
"Minimum Guaranteed Residential Unit Value", defined by reference to
Total Residential Land Value, strongly suggests that this was to be a
guaranteed minimum payment for the land value in respect of an
individual flat.     A guaranteed minimum payment connotes the
possibility of a lmger payment which, depending upon some
contingency, may or may not fall due. Hence the te1m "Additional
Residential Payment". The element of contingency is reinforced by
paragraph 3 .3 of the Sixth Schedule, which speaks of the " date of
payment ifany of the Balancing Payment." (My emphasis).


17.    The judge declined to regard the tenns Total Land Value and
Minimum Guaranteed Residential Unit Value as indicative of an
intention that MGRUV was to be the minimum Chaitbrook would
receive as the land value of a flat because both te1111s were defined
expressions. They might j ust as well have been algebraic symbols.
Indeed they might, and I strnngly suspect that if they had been, they
would have made it cleai· that the parties were intending to give effect to
Persimmon' s constn1ction. But the contract does not use algebraic
symbols. It uses labels. The words used as labels are seldom arbitraiy.
They are usually chosen as a distillation of the meaning or purpose of a
concept intended to be more precisely stated in the definition. In such
cases the language of the defined expression may help to elucidate
a111biguities in the definition or other parts of the agreement: compai·e
Birmingham City Council v Walker [2007] 2 AC 262, 268. I therefore
consider that Lawrence Collins LJ was right to take into account the
connotations of contingency to be derived from the defined te1111s.


18.   On Chaitbrook's constrnction, there is vi1tually no element of
contingency at all. ARP is payable in every case in which the flat sells
for more than £53,438. Chmtbrook submits that is still a contingency.
Who could tell whether or not the market for flats in Wandsworth might
not collapse? In the Court of Appeal, Rimer LJ accepted that
submission. He said that the "relevant language", i.e. the language of


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          contingency, was       "strictly   consistent   also   with   Chmtbrook's
          construction."


          19.      My Lords, I cannot believe that any rational parties who wished
          to make provision for such a catastrophic fall in the housing market
          (itself an unlikely assumption) would have adopted so precise a sum to
          represent their estimate of what might happen. Why £53,438? That
          was the agreed minimum figure for that pait of the value of a flat
          attributable to the land which Chartbrook was selling. It was clearly
          based upon a careful and precise estimate of cunent market prices and
          building costs. But how could this figure have been appropriate as a
          minimum expected sale price of the entire flat at some future date? If
          the patties were wanting to guess at some extraordinary fall in the
          market against which Chaitbrook was to be protected, why £53,438?
          Why not £50,000 or £60,000, or £100,000? A figure chosen to represent
          someone' s feai·s about a possible collapse in the market could only have
          been based upon wild speculation, not the kind of calculation which
          produces a figure like £53,438. That figure cannot have been meant to
          play the pait in the calculation which Chaitbrook's construction assigns
          to it. It must have been intended to function as a minimum land value,
          not a minimum sale price. To compare it with the realised sale price
          would not be comparing like with like.


          20.     It is of course trne that the fact that a contract may appear to be
          unduly favourable to one of the parties is not a sufficient reason for
          supposing that it does not mean what it says. The reasonable addressee
          of the instrument has not been privy to the negotiations and cannot tell
          whether a provision favourable to one side was not in exchange for
          some concession elsewhere or sin1ply a bad bai-gain . But the striking
          feature of this case is not merely that the provisions as interpreted by the
          judge and the Court of Appeal are favourable to Chartbrook. It is that
          they make the structure and language of the various provisions of
          Schedule 6 appear arbit:ra1y and inational, when it is possible for the
          concepts employed by the pmties (MGRUV, C & I etc) to be combined
          in a rational way.


          21.    I therefore think that Lawrence Collins LJ was right in saying
          that ARP must mean the amount by which 23.4% of the achieved price
          exceeds the MGRUV. I do not think that it is .necessary to unde1take the
          exercise of comparing this language with that of the definition in order
          to see how much use of red ink is involved. When the language used in
          an instrnment gives rise to difficulties of construction, the process of
          interpretation does not require one to fonnulate some alternative form of


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words which approximates as closely as possible to that of the patties. It
is to decide what a reasonable person would have understood the patties
to have meant by using the language which they did. The fact that the
comi might have to express that meaning in language quite different
                                  th                       th
from that used by the patties ("12 Janumy" instead of " 13 January" in
Manna; Investment Co Ltd v Eagle Star Life Assurance Co L td [1997]
AC 749; "at1y claim sounding in rescission (whether for undue influence
or othe1wise)" instead of "any claim (whether som1ding in rescission for
undue influence or othe1wise)" in Investors Compensahon Scheme Ltd v
West Bromwich Building Society [1998] 1 WLR 896) is no reason for
not giving effect to what they appear to have meant.


22.    In East v Pantiles (Plant Hire) Ltd (1981) 263 EG 61 Brightman
J stated the conditions for what he called "correction of mistakes by
construction" :



       "Two conditions must be satisfied: first, there must be a
       clear mistake on the face of the instrument; secondly, it
       must be clear what correction ought to be made in order to
       cure the mistake. If those conditions are satisfied, then the
       correction is made as a matter of construction."


23.     Subject to two qualifications, both of which are explained by
Camwath LJ in his admirable judgment in KPMG LLP v Network Rail
Infrastructure Ltd [2007] Bus LR 1336, I would accept this statement,
which is in my opinion no more thm1 an expression of the common
sense view that we do not readily accept that people have made mistakes
in fonnal documents. The first qualification is that "co1Tection of
mistakes by construction" is not a separate branch of the law, a
summary version of an action for rectification. As Carnwath LJ said (at
p. 1351, para 50):



       "Both in the judgment, and in the arguments before us,
       there was a tendency to deal separately with conection of
       mistakes and construing the paragraph 'as it stands', as
       though they were distinct exercises. In my view, they are
       simply aspects of the single task of interpreting the
       agreement in its context, in order to get as close as
       possible to the meaning which the patties intended."




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          24.    The second qualification concerns the words "on the face of the
          instnm1ent" . I agree with Carnwath LJ (at pp 1350-1351) that in
          deciding whether there is a clear mistake, the court is not confined to
          reading the document without regard to its background or context. As
          the exercise is pait of the single task of interpretation, the background
          and context must always be taken into consideration.


          25.    What is clear from these cases is that there is not, so to speak, a
          limit to the amount of red ink or verbal reanangement or correction
          which the comt is allowed. All that is required is that it should be clear
          that something has gone wrong with the language and that it should be
          clear what a reasonable person would have understood the parties to
          have meant. In my opinion, both of these requirements are satisfied.


          26.     That leaves the question of the deduction of C & I, which the
          judge and th e majority of the Comi of Appeal regarded as an
          insuperable obstacle to Persimmon' s construction. I cannot see why this
          should be so. Eve1yone agrees that the only sum from which C & I can
          rationally be deducted is the headline price achieved on the sale, so as to
          anive at the net ammmt received by Persimmon. That is accordingly
          what the pmties must have meant. You deduct the C & I from the
          nominal price achieved and the ARP is the excess, if any, of 23.4% of
          that net sum over the MGRUV. Giving this meaning to the provision
          about C & I does not in any way weaken or affect the argmnent for
          interpreting the rest of the definition in a way which gives ARP a
          rational meaning. To say, as Rimer LJ said, that it requires "rewriting",
          or that it "disto1ts the meaning and arithmetic of the definition" is only
          to say that it requires one to conclude that something has gone wrong
          w ith the language - not, in this case, with the meanings of words, but
          w ith the syntactical mrnngement of those words. If however the context
          drives one to the conclusion that this must have happened, it is no
          answer that the interpretation does not reflect what the words would
          conventionally have been understood to mean.


          27.    If your Lordships agree with this conclusion about the
          construction of the contract, the appeal must be allowed. There is no
          need to say anything more. But Persimmon advanced two alternative
          arglm1ents of very considerable general impo1tance and I think it is
          appropriate that your Lordships should deal with them. The first was
          that (contra1y to the unanimous opinion of the judge and the Com1 of
          Appeal) the House should take into account the pre-contractual
          negotiations, which in the opinion of Lawrence Collins LJ (at paragraph
          132), were detenninative confirmation of Persimmon' s argument on


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construction. The second was that the judge and the Comt of Appeal
had misunderstood the principles upon which rectification may be
decreed and that if Persimmon had failed on construction, the agreement
should have been rectified.


28.     The rnle that pre-contrachial negotiations are inadmissible was
clearly reaffinned by this House in Prenn v Simmonds [ 1971] 1 WLR
1381 , where Lord Wilberforce said (at p. 1384) that earlier authorities
"contain little to encourage, and much to discourage, evidence of
negotiation or of the parties' subjective intentions." It is clear that the
rnle of inadmissibility has been established for a ve1y long time. In
Inglis v John Buttery & Co (1 878) 3 App Cas 552, 577 Lord Blackburn
said that Lord Justice Clerk Moncreiff (at (1877) 4 R 58, 64) had laid
down a principle which was nearly accurate but not quite when he said
that in all mercantile contracts "whether they be clear and distinct or the
reverse, the Court is entitled to be placed in the position in which the
parties stood before they signed". The only qualification Lord Blackbum
made was to reject Lord Moncreiff s view that the Comt was entitled to
look at the pre-contractual negotiations because unless one did so, one
could not be fully in the position in which the paities had been.


29.    Instead, Lord Blackburn prefe1Ted (at p. 577) the opinion of Lord
Gifford ((1877) 4 R 58, 69-70):



       ''Now, I think it is quite fixed - and no more wholesome or
       salutaiy rule relative to written contracts can be devised -
       that where pmties agree to embody, m1d do actually
       embody, their contract in a fonnal written deed, then in
       detennining what the contract really was and really meant,
       a Comt must look to the fonnal deed and to that deed
       alone. This is only caITying out the will of the paities. The
       only meaning of adjusting a fonnal contract is, that the
       formal contrnct shall supersede all loose and prelirninaiy
       negotiations - that there shall be no room for
       misunderstandings which may often arise, and which do
       constantly m·ise, in the course of long, and it may be
       desult01y conversations, or in the course of
       co1Tespondence or negotiations during which the paities
       are often widely at issue as to what they will insist on and
       what they will concede. The very pmpose of a fonnal
       contract is to put an end to the disputes which would
       inevitably arise if the matter were left upon verbal
       negotiations or upon mixed comrnunings paitly consisting
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                 of letters and paitly of conversations. TI1e written contract
                 is that which is to be appealed to by both paities, however
                 different it may be from their previous demands or
                 stipulations, whether contained in letters or in verbal
                 conversation. There can be no doubt that this is the general
                 rule, and I think the general rule, strictly and with peculiar
                 appropriateness applies to the present case."


          30.     To allow evidence of pre-contractual negotiations to be used in
          aid of construction would th erefore require the House to depait from a
          long ai1d consistent line of authority, the binding force of which has
          frequently been acknowledged: see Bank of Scotland v Dunedin
          Property Investment Co Ltd 1998 SC 657, 665 ("well-established and
          salutary", per Lord President Rodger; Alex;ou v Campbell [2007]
          UK.PC 11 ("vouched by ... compelling authorities", per Lord Bingham of
          Cornhill.) TI1e House is neve1theless invited to do so, on the ground that
          the rule is illogical and prevents a court from, as the Lord Justice Clerk
          in Inglis v John ButtetJJ & Co ( 1878) 3 App Cas 552 said, putting itself
          in the position of the parties and asce1taining their true intent.


          31.   In Prenn v Simmonds [1971] 1 WLR 1381, 1384 Lord
          Wilberforce said by way of justification of the rule:



                 "The reason for not admitting evidence of these exchanges
                 is not a technical one or even mainly one of convenience,
                 (though the attempt to admit it did greatly prolong the case
                 and add to its expense). It is sin1ply that such evidence is
                 unhelpful. By the nature of things, where negotiations are
                 difficult, the parties' positions, with each passing letter, are
                 changing and until the final agreement, though
                 converging, still divergent. It is only the final document
                 which records a consensus. If the previous documents use
                 different expressions, how does construction of those
                 expressions, itself a doubtful process, help on the
                 construction of the contractual words? If the same
                 expressions are used, nothing is gained by looking back:
                 indeed, something may be lost since the relevant
                 SlllTOlmding circumstances may be different. And at this
                 stage there is no consensus of the paities to appeal to. It
                 may be said that previous documents may be looked at to
                 explain the aims of the paities. In a limited sense this is
                 true: the commercial, or business object, of the transaction,
                 objectively asce1tained, may be a smrnm1ding fact.


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      Cardozo J. thought so in the Utica Bank case. And if it
      can be shown that one interpretation completely frustrates
      that object, to the extent of rendering the contract futile,
      that may be a strong argument for an alternative
      interpretation, if that can reasonably be found. But beyond
      that it may be difficult to go: it may be a matter of degree,
      or of judgment, how far one interpretation, or another,
      gives effect to a common intention: the parties, indeed,
      may be pursuing that intention with differing emphasis,
      and hoping to achieve it to an extent which may differ, and
      in different ways. The words used may, and often do,
      represent a fonnula which means different things to each
      side, yet may be accepted because that is the only way to
      get 'agreement' and in the hope that disputes will not
      arise. The only course then can be to tty to asce1iain the
      'natural' meaning. Far more, and indeed totally, dangerous
      is it to admit evidence of one patty's objective - even if
      this is known to the other pmty. However strongly pursued
      this may be, the other party may only be willing to give it
      pmtial recognition, and in a world of give and take, men
      often have to be satisfied with less than they want. So,
      again, it would be a matter of speculation how far the
      common intention was that the patticular objective should
      be realised."


32.     Critics of the rnle, such as Thomas J in New Zealand (Yoshimoto
v Canterbwy Golf International Ltd [2001] 1 NZLR 523, 538-549)
Professor David McLauchlan ("Contract Interpretation: What is it
About?" (2009) 31:5 Sydney Law Review 5-51) and Lord Nicholls of
Birkenhead ("My Kingdom for a Horse: The Meaning of Words" (2005)
121 LQR 577-591) point out that although all this may usually be t11.1e,
in some cases it will not. Among the diit of aspirations, proposals and
counter-proposals there may gleam the gold of a genuine consensus on
some aspect of the transaction expressed in tenns which would ii1fluence
an objective observer in construing the language used by the pmties in
their final agreement. Why should court deny itself the assistance of
this material in deciding what the patties must be taken to have meant?
Mr Christopher Nugee QC, who appeared for Persimmon, went so far as
to say that in saying that such evidence was unhelpful, Lord Wilberforce
was not only providing a justification for the rule but delimitii1g its
extent. It should apply only in cases in which the pre-contractual
negotiations are actually inelevant. If they do assist a comi in deciding
what an objective observer would have constrned the contract to mean,
they should be admitted. I cannot accept this submission. It is clear from
what Lord Wilberforce said and the authorities upon which he relied that


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          the exclusionary rule is not qualified in this way. There is no need for a
          special rnle to exclude inelevant evidence.


          33.    I do however accept that it would not be inconsistent with the
          English objective theo1y of contractual inte11)l"etation to admit evidence
          of previous communications between the paities as part of the
          background which may throw light upon what they meant by the
          language they used. The general rnle, as I said in Bank of Credit and
          Commerce International SA v Ali [2002] 1 AC 251, 269, is that there
          are no conceptual limits to what can properly be regarded as
          background. Prima facie, therefore, the negotiations are potentially
          relevant background. They may be inadmissible simply because they am
          i1rnlevant to the question which the comi has to decide, namely, what
          the paities would reasonably be taken to have meant by the language
          which they finally adopted to express their agreement. For the reasons
          given by Lord Wilberforce, that will usually be the case. But not always.
          In exceptional cases, as Lord N icholls has forcibly argued, a rule that
          prior negotiations are always inadmissible will prevent the court from
          giving effect to what a reasonable man in the position of the parties
          would have taken them to have meant. Of course judges may disagree
          over whether in a particular case such evidence is helpful or not. In
          Yoshimoto v Canterbury Golf International Ltd [2001] 1 NZLR 523.
          Thomas J thought he had found gold in the negotiations but the Privy
          Council said it was only diit. As I have said, there is nothing unusual or
          surprising about such differences of opinion. In principle, however, I
          would accept that previous negotiations may be relevant.


          34.     It therefore follows that while it is trne that, as Lord Wilberforce
          said, inadmissibility is n01mally based in iirnlevance, there will be cases
          in which it can be j ustified only on pragmatic grounds. I must consider
          these grounds, which have been explored in detail in the literature and
          on the whole rejected by academic writers but supp01ted by some
          practitioners.


          35.    The first is that the admission of pre-contractual negotiat10ns
          would create greater unce1tainty of outcome in disputes over
          interpretation and add to the cost of advice, litigation or arbitration.
          Eve1yone engaged in the exercise would have to read the
          conespondence and statements would have to be taken from those who
          took part in oral negotiations. Not only would this be time-consuming
          and expensive but the scope for disagreement over whether the material
          affected the constmction of the agreement (as in the Yoshimoto case)
          would be considerably increased. As agau.1st this, it is said that when a


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dispute over construction is litigated, evidence of the pre-contractual
negotiations is ahnost invariably tendered in suppo1t of an alternative
claim for rectification (as in Prenn v Simmonds and in this case) or an
argument based on estoppel by convention or some alleged exception to
the exclusionary rule. Even if such an alternative claim does not
succeed, the judge will have read and possibly been influenced by the
evidence. The rule therefore achieves little in saving costs and its
abolition would restore some intellectual honesty to the judicial
approach to interpretation.


36.     There is certainly a view in the profession that the less one has to
res01t to any fonn of background in aid of interpretation, the better. The
document should so far as possible speak for itself. As Popham CJ said
in the Countess of Rutland's Case (1604) 5 Co Rep 25b, 26a:



       "it would be inconvenient, that matters in writing made by
       advice and on consideration, and which finally imp01t the
       ce1tain trnth of the agreement of the paities should be
       controlled by avennent of the parties to be proved by the
       unce1tain testimony of slippery mem01y."


37.     I do not think that these opunons can be dismissed as merely
based upon the fallacy that words have inherent or " available"
meanings, rather than being used by people to express meanings,
although some of the arguments advanced in support might suggest this.
It reflects what may be a sound practical intuition that the law of
contract is an institution designed to enforce promises with a high
degree of predictability and that the more one allows conventional
meanings or syntax to be displaced by inferences drawn from
background, the less predictable the outcome is likely to be. In this
respect, it is interesting to consider the reaction to the statement of
principle in Investors Compensation Scheme Ltd v West B romwich
Building Society [1998] 1 WLR 896,912-913, which was viewed with
alann by some distinguished commercial lawyers as having greatly
increased the quantity of background material which comts or
arbitrators would be invited to consider: see Lord Bingham's recent
paper ("A New Thing Under the Sun: The Interpretation of Contract and
the ICS Decision" (2008) 12 Edinburgh LR 374-390) and Spigehnann
CJ, "From Text to Contract: Contempora1y Contractual Interpretation"
(2007) 81 ALJ 322. As Lord Bingharn pointed out, there was little in
that statement of principle which could not be found in ear·lier
authorities. The only points it decided that might have been thought in
the least controversial were, fo·st, that it was not necessary to find an


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          "ambiguity" before one could have any regard to background and,
          secondly, that the meaning which the pa1ties would reasonably be taken
          to have intended could be given effect despite the fact that it was not,
          according to conventional usage, an "available" meaning of the words or
          syntax which they had actually used.


          38.     Like Lord Bingham, I rather doubt whether the JCS case
          produced a dramatic increase in the amount of material produced by
          way of background for the purposes of contractual inte1pretation . But
          pre-contractual negotiations seem to me capable of raising practical
          questions different from those created by other forms of background.
          Whereas the smrnunding circumstances are, by definition, objective
          facts, which will usually be uncontroversial, statements in the course of
          pre-contractual negotiations will be drenched in subjectivity and may, if
          oral, be ve1y much in dispute. It is often not easy to distinguish between
          those statements which (if they were made at all) merely reflect the
          aspirations of one or other of the pmties and those which embody at
          least a provisional consensus which may tlu·ow light on the meaning of
          the contract which was eventually concluded. But the imprecision of the
          line between negotiation and provisional agreement is the ve1y reason
          why in eve1y case of dispute over inte1pretation, one or other of the
          pmties is likely to require a court or arbitrator to take the course of
          negotiations into account. Your Lordships' experience in the analogous
          case of reso1t to statements in Hansard under the rnle in Pepper v Hart
          [1993] AC 593 suggests that such evidence will be produced in any
          case in which there is the remotest chance that it may be accepted and
          that even these cases will be only the tip of a mountain of discarded but
          expensive investigation . Pepper v Hart has also encouraged ministers
          and others to make statements in the hope of influencing the
          construction which the comts will give to a statute and it is possible tl1at
          negotiating patties will be encouraged to improve the bundle of
          correspondence with similar statements.


          39.      Suppo1ters of the admissibility of pre-contractual negohat10ns
          draw attention to the fact that Continental legal systems seem to have
          little difficulty in taking them into account. Both the Unidroit Principles
          of International Commercial Contracts (1994 and 2004 revision) and
          the Principles of European Contract Law (1999) provide that in
          asce1taining the "conunon intention of th e pmties", regard shall be had
          to prior negotiations: mticles 4. 3 and 5 .102 respectively . The same is
          h1.1e of the United Nations Convention on Contracts for the International
          Sale of Goods (1980). But these instrnments reflect the French
          philosophy of contractual interpretation, which is altogether different
          from that of English law . As Professor Catherine Valcke explains in an


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illuminating aiticle (" On Comparing French and English Contract Law:
Insights from Social Contract Theory") (16 Jaimaty 2009), French law
regards the intentions of the patties as a pure question of subjective fact,
their volonte psychologique, uninfluenced by any rules of law. It follows
that any evidence of what they said or did, whether to each oth er or to
third patties, may be relevant to establishing what their intentions
actually were. There is in French law a sharp distinction between the
asce1tainment of their intentions and the application of legal rnles which
may, in the interests of fairness to other patties or otherwise, limit the
extent to which those intentions are given effect. English law, on the
other hand, mixes up the asce1tainment of intention with the rules of law
by depersonalising the contracting patties and asking, not what their
intentions actually were, but what a reasonable outside observer would
have taken them to be. One cannot in my opinion simply transpose rules
based on one philosophy of contractual interpretation to another, or
assume that the practical effect of admitting such evidence under the
English system of civil procedure will be the same as that under a
Continental system.


40.    In his judgment in the present case, Briggs J thought that the
most powerfol argument against admitting evidence of pre-contractual
negotiations was that it would be unfair to a third patty who took an
assignment of the contract or advanced money on its security. Such a
person would not have been privy to the negotiations and may have
taken th e te1111s of the contract at face value. There is clearly strength in
this argument, but it is fair to say that the same point can be made (and
has been made, notably by Saville LJ in National Bank of Sha,jah v
Dellborg [1997] EWCA Civ 2070, which is unreported, but the relevant
passage is cited in Lord Bingham 's paper in the Edinburgh Law
Review) in respect of the achnissibility of any fo1111 of background. The
law sometimes deals with the problem by restricting the admissible
background to that which would be available not merely to the
contracting patties but also to others to whom the document is treated as
having been addressed. Thus in Bratton Seymour Service Co Ltd v
Oxborough [1992] BCLC 693 the Comt of Appeal decided that in
construing the atticles of association of the management company of a
building divided into flats, background facts which would have been
known to all the signatories were inadmissible because th e atticles
should be regarded as addressed to anyone who read the register of
companies, including persons who would have known nothing of the
facts in question. In The Starsin (Homburg Houtimport B V v Agrosin
Private Ltd [2004] 1 AC 715) the House of Lords constrned words
which identified the carrier on the front of a bill of lading without
reference to what it said on the back, on the ground that the bankers to
whom the bill would be tendered could not be expected to read th e small


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          print. Ordinarily, however, a contract is treated as addressed to the
          parties alone and an assignee must either inquire as to any relevant
          background or take his chance on how that might affect the meaning a
          comt will give to the document. The law has sometimes to compromise
          between protecting the interests of the contracting parties and those of
          third paities. But an extension of the admissible background will, at any
          rate in the01y , increase the risk that a third patty will find that the
          contract does not mean what he thought. How often this is likely to be a
          practical problem is hard to say. In the present case, the construction of
          the agreement does not involve reliance upon any background which
          would not have been equally available to any prospective assignee or
          lender.


          41.     The conclusion I would reach is that there is no clearly
          established case for departing from the exclusionary rule. The rule may
          well mean, as Lord Nicholls has argued, that patties ai·e sometimes held
          bound by a contract in terms which, upon a full investigation of the
          course of negotiations, a reasonable observer would not have taken them
          to have intended. But a system which sometimes allows this to happen
          may be justified in the more general interest of economy and
          predictability in obtaining advice and adjudicating disputes. It is, after
          all, usually possible to avoid surprises by carefully reading the
          documents before signing them and there ai·e the safety nets of
          rectification and estoppel by convention. Your Lordships do not have
          the material on which to fonn a view. It is possible that empirical study
          (for example, by the Law Commission) may show that the alleged
          disadvantages of admissibility are not in practice very significant or that
          they are outweighed by the advantages of doing more precise justice in
          exceptional cases or falling into line with international conventions. But
          the detennination of where the balance of advantage lies is not in my
          opinion suitable for judicial decision. Your Lordships are being asked
          to depart from a rule which has been in existence for many years and
          several times affinned by the H ou se. There is power to do so under the
          Practice Statement (Judicial Precedent) [1966] 1 WLR 1234. But that
          power was intended, as Lord Reid said in R v National Insurance
          Comrs, Exp Hudson [1972] AC 944, 966, to be applied only in a small
          number of cases in which previous decisions of the House were "thought
          to be impeding the proper development of the law or to have led to
          results which were unjust or contrary to public policy". I do not think
          that anyone can be confident that this is true of the exclusionary rnle.


          42.    The rule excludes evidence of what was said or done during the
          course of negotiating the agreement for the purpose of drawing
          inferences about what the contract meant. It does not exclude the use of


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such evidence for other purposes: for example, to establish that a fact
which may be relevant as background was known to the pmties, or to
supp01t a claim for rectification or estoppel. These are not exceptions to
the rule. They operate outside it.


43.    There is however a group of cases in which judges have found an
exception to the exclusionmy mle and your Lordships will have to
decide whether such an exception can be justified. The leading case is
the decision of Ken J the Karen Oltmann (Partenreedere; MS Karen
O/tmann v Scarsdale Sfopp;ng Co Ltd [1976] 2 Lloyd 's Rep 708. This
concerned a time chmt er for 2 years (1 4 days more or less in
chmterers'option) which contained a break clause:



       "Chmterers to have the option to redeliver the vessel after
       12 months' trading subject to giving three months'
       notice".


44.    The issue was whether "after 12 months ' trading" meant that the
break clause could be operated only at the end of the first year or at any
time during the second year. The judge said that he was entitled to look
at telexes by which the fixture was negotiated in which the pmties
discussed various length s of break clauses and were clearly using the
word " after" to mean "on the expiry of' rather than "at any time after
the expiiy of'. He justified the admissibility of this evidence on the
following principle (p 712):



       "If a contract contaii1s words which, in theii· context, are
       faii·ly capable of bearing more th an one meaning, and if it
       is alleged that th e pmties have in effect negotiated on an
       agreed basis that the words bore only one of the two
       possible meanings, then it is pennissible for the comt to
       examine the extrinsic evidence relied upon to see whether
       the pmties have ii1 fact used the words in question in one
       sense only, so that they have in effect given theii· own
       dictionmy meaning to the words as the result of theii·
       common intention. Such cases would not supp01t a claim
       for rectification of th e contract, because the choice of
       words in the contract did not result from any mistake. The
       words used in the contract would ex hypothesi reflect the
       meaning which both pmties ii1tended."



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          45.     In his judgment in this case, Lawrence Collins LJ said of this
          prin ciple (in paragraph 121) that he doubted whether it differed in any
          material respect from admitting evidence of prior negotiations in
          construing a contract. Indeed, the case is frequently cited as an example
          of an exception which undennines the rule: see for example Professor
          McLauchlan, "Contract Interpretation : What is It About?" (2009) 31 :5
          Sydney Law Review 5-51. It is true that evidence may always be
          adduced that the pmties habitually used words in an unconventional
          sense in order to suppott an argument that words in a contract should
          bear a similar unconventional meaning. This is the "private dictionmy"
          principle, which is akin to the principle by which a linguistic usage in a
          trade or among a religious sect may be proved: compare Shore v Wilson
          (1842) 9 Cl & F 355. For this pmvose it does not matter whether the
          evidence of usage by the patties was in the course of negotiations or on
          any other occasion. It is simply evidence of the linguistic usage which
          they had in common. But the telexes in the Karen Oltmann did not
          evidence any unconventional usage. There was no private dictionary.
          The case involved a choice between two perfectly conventional
          meanings of the word "after" in a particular context. In my opinion
          Lawrence Collins LJ was right in saying that the admission of the
          evidence infringed the exclusionmy rule. It is perhaps significm1t that
          the evidence merely confinned the meaning which Ken- J, as an
          experienced commercial judge, would in any case have given to the
          clause.


          46.     What would have been the position if K en J had thought that,
          w ithout the evidence of the telexes, he would have const:rned the clause
          in the opposite sense? H e said that rectification would not be available
          because "The words used in the contract would ex hypothesi reflect the
          meaning which both parties intended." I do not understand this,
          because, on this hypothesis, the telexes would show that the words (as
          construed by the judge) did not reflect the meaning which both parties
          intended. And it is generally accepted that Drightman J was right in R e
          Butlin 's Settlement Trusts [1976] Ch 25 1 in holding that rectification is
          available not only when the patties intended to use different words but
          also when they mistakenly thought their words bore a different meaning.


          4 7.    On its facts, the Karen Oltmann was in my opm1on an
          illegitimate extension of the "private dictionmy" principle which, taken
          to its logical conclusion, would destroy the exclusionary rule m1d any
          practical advantages which it may have. There ar·e two legitimate safety
          devices which will in most cases prevent the exclusionmy rule from
          causing injustice. But they have to be specifically pleaded and clearly
          established. One is rectification. The other is estoppel by convention,


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which has been developed since the decision in the Karen Oltmann: see
Amalgamated Investment & Property Co. Ltd. v. Texas Commerce
International Bank Ltd. [1982] QB 84. If the patties have negotiated an
agreement upon some common assumption, which may include an
assumption that ce1tain words will bear a certain meaning, they may be
estopped from contending that the words should be given a different
meaning. Both of these remedies lie outside the exclusionaiy rule, since
they stait from the premise that, as a matter of constrnction, the
agreement does not have the meaning for which the patty seeking
rectification or raising an estoppel contends.


48.   The last point is whether, if Cha1tbrook's interpretation of the
agreement had been conect, it should have been rectified to accord with
Persimmon' s interpretation. The requirements for rectification were
succinctly summarized by Peter Gibson LJ in Swainland Builders Ltd v
Freehold Properties Ltd [2002] 2 EGLR 71, 74, para 33:



      "The patty seeking rectification must show that:

      (1)    the patties had a common continuing intention,
             whether or not amounting to an agreement, in
             respect of a patticular matter in the instrnment to be
             rectified;
      (2)    there was an outward expression of accord;
      (3)    the intention continued at the time of the execution
             of the instrnment sought to be rectified;
      (4)    by m istake, the instrnment did not reflect that
             common intention."


49.     To explain how the clain1 for rectification arose, I must
summarise the relevant pre-contractual exchanges between the pruties.
They began by discussing a proposal for an outright sale of the land by
Chaitbrook to Persinunon at a price calculated by reference to such
planning pennission as Chattbrook might obtain. In early 2001 this
structure was abandoned and Persimmon in a letter dated 1 February
2001 proposed the building licence airnngement eventually agreed. The
letter included the following passages:



      "we would be prepared to pay you 29.8% of the net sales
      proceeds generated from the private sale residential


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                 element of the scheme and a fmther 45% of the net sales
                 revenue generated from the disposal of the commercial
                 element of the site. We would pay you this propo1tion of
                 the income regardless of the development costs incmTed
                 by my Company and the quanh1m of accommodation that
                 we ultimately obtain planning pennission for.. .By tying
                 your land value to a percentage of the income, you will
                 also automatically share in any sales uplift that we
                 experience."


          50.    This offer of a straightforward sharing of the proceeds was
          modified in a letter dated 6 F ebruaiy 200 1 by the addition of what were
          described as "guaranteed backstop dates and mininmm payments":



                "Upon receipt of the purchase monies, the revenue will be
                appo1ti oned to Chartbrook on the basis of29.8% of the net
                revenue achieved from the disposal of the private sale
                residential units and 45% of the net revenue from the
                disposal of the commercial units. In addition, we are
                prepared to provide you with guaranteed backstop dates
                and minimum payments that will be made regardless of
                the actual perfonnance of the project both in tenns of
                timescales and costs. I set out on the attached schedule our
                proposals concerning this element of the deal.

                Based on the cunent scheme for 80 units, and 9020 sq ft of
                commercial floor space, the minimum land value we are
                prepared to pay to Chmtbrook on the disposal of each
                residential unit is £67,000, together with a further
                minimum payment of £400,000 on the disposal of the
                commercial unit. If as a result of in1provements in the
                market, Chmtbrook m·e entitled to more than the minimum
                payments I suggest an equalisation calculation takes place
                following the disposal of the last unit ...

                 Within tl1e contract, I... suggest that a fonnula is included
                 whereby the land value is calculated using the following
                 inputs:

                 Private Sale Residential Accommodation ..... 94.96/sq ft . . .




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      Once the total land value has been calculated, a simple
      formula can then be applied to divide the land values by
      the number of units, in order for us to calculate the
      guaranteed payments that you will receive on the sale of
      each plot. .. "


51.    On 12 Februaiy there was a further modification to make separate
provision for the sales of car parking spaces, but the overall offer for
land value remained the same. The judge found (paragraph 110) that
Chaiibrook accepted this offer in principle and Persimmon's solicitors
were instructed to draft an agreement. Their draft was attached to an e-
mail dated 1 March 2001 and contained essentially the same fommlae
for calculating the price as those in the final agreement. The definition
of "Additional Residential Payment" was (save for the percentage
figure) in precisely the same words as those of the final agreement.


52.     Between March and May Chaiibrook acquired some additional
adjoining land and Persimmon revised its cost estimates. The result was
a change in the figures but not in the fonnulae. In a letter dated 24 May
2001 Persimmon offered a new total land value of £7,191,947. The
letter contained a table setting out -


      "the mun.mum guaranteed land values that you will
      receive for the respective elements of the scheme, together
      with the percentage of sales revenue that you will also be
      entitled to if the project performs better than is cmrnntly
      anticipated"


53.     The figures in the table were 23.4% for "percentage of sales
revenue" and £53,333 for "minimum value per plot." The judge found
that this offer was also accepted in principle and the new figures were
inserted into the final contract. The words of the definition of ARP in
the final draft remained (subject to the change in the percentage figure)
exactly the same as in the first draft.


54.    It is I think clear that a reasonable person who read the Februmy
and May letters in the light of the background known to the pmiies
would have taken them to have been intending that Chaiibrook should
receive an ARP if, but only if, "the project performs better than is
ctmently anticipated".



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          55.    Persimmon' s case on rectification at the trial was that the letter of
          24 May 2001 was an outward expression of the common an d continuing
          intention of the pmties and (if Chartbrook was right about its true
          construction) the definition had been drafted in the mistaken belief that
          it gave effect to that cormnon intention. On the other hand, the evidence
          of the two principals of Chaitbrook, Mr Vantreen and Mr Reeve, was
          that they had made no mistake. The definition accorded exactly with
          what they had thought they were being offered in the letters of F ebmaiy
          and May 2001. Indeed, they said they would not have done the deal for
          any less. It was put to them in cross-examination that no rational person
          could have understood the letters in the sense which they claimed and
          Mr Vantreen was caused some little difficulty by the fact that, on his
          copy of the May 2001 letter, he had calculated the mnount which (on
          Persimmon's construction of the definition) the sale price of a 700 sq ft
          flat would have to exceed before any ARP became payable (£228,000).
          This calculation would have been inelevant on his own construction of
          the definition and he was unable to explain why he had made it.
          Neve1theless the judge accepted the evidence of Mr Reeve and Mr
          Vantreen that they had honestly believed that the definition (as they
          claimed to have understood it) was what had been agreed and they were
          not been mistaken. The judge therefore held that the mistake was not
          common to both parties and dismissed the claim for rectification.


          56.    The case was argued at trial on the assumption that rectification
          required both parties to be mistaken about whether the written
          agreement reflected what they believed their prior consensus to have
          been. In the Comt of Appeal, Persinunon challenged the finding of fact
          about what Mr Reeve and Mr Vantreen had believed, but not the
          underlying proposition of law. The Comt of Appeal unanimously
          dismissed this part of the appeal on the ground that it could not disturb
          the findings of fact. There are accordingly concurrent findings of fact
          about the states of mind of Mr Reeve and Mr Vantreen. Your Lordships
          indicated at the hearing that in accordance with the usual practice, you
          would not re-examine them : see Smith New Court Securities Ltd v
          Scrimgeour Vickers (Asset Management) Ltd [1997] AC 254, 274-275.


          57.    In the printed case, however, Persi1mnon (encouraged by aiticles
          in the Law Quaiterly Review by Marcus Smith ("Rectification of
          Contracts for Common Mistake, Joscelyne v Nissen and Subjective
          States of Mind" (2007) 123 LQR 11 6-132 and Professor McLauchlan
          ("The 'Drastic' Remedy of Rectification for Unilateral Mistake" (2008)
          124 LQR 608-640)) asked for leave to challenge, for first time, the
          proposition of law. Mr Nugee submitted that the judge and the Comt of
          Appeal had been wrong in their assumption about what a party had to be


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mistaken about. Rectification required a mistake about whether the
written instrument correctly reflected the prior consensus, not whether it
accorded with what the paity in question believed that consensus to have
been. In accordance with the general approach of English law, the tenns
of the prior consensus were what a reasonable observer would have
understood them to be and not what one or even both of the pmties
believed them to be. In the present case, submitted Mr Nugee, the prior
consensus was contained in the May letter, which made it clear that the
tenns were to be as contended for by Persimmon. If the definition in the
final agreement did not have that meaning, it was not in accordance with
the prior consensus and if Mr Reeve and Mr Vantreen believed that it
was, then they, like the representatives of Persimmon, were mistaken.


58.    Mr Robe1t Miles QC, for Chartbrook, objected to Persimmon
being given leave to advance this argument. He said that if the point had
been taken at the trial, the evidence might have taken a different shape. I
rather doubt this, but as I understand th at the Committee shares my view
that Persimmon is entitled to succeed without rectification, the question
is academic. Nevertheless, as it has been very well and fully argued, I
propose to express an opinion about it.


59.    Until the decision of the Comt of Appea l in Joscelyne v Nissen
[1970] 2 QB 86 there was a view, based upon dicta in nineteenth and
early twentieth century cases, that rectification was available only if
there had been a concluded antecedent contract with which the
instrument did not conform. In Lovell and Christmas Ltd v Wall (1911)
104 LT 85, 88 Sir Herbe1t Cozens-Hardy MR said that rectification
"may be regarded as a branch of the doctrine of specific performan ce".
It presupposed a prior contract and required proof that, by a common
mistake, the final completed agreement as executed failed to give proper
effect to the prior contract. In Joscelyne's case the Comt of Appeal
declared itself puzzled by the reference to specific performance, but I
think it is clear enough that th e Master of the Rolls had in mind a
contractual obligation to execute a lease, conveyance, settlement or
similar instrnment, giving rise to a specifically enforceable obligation to
do so. A failure to execute a document giving effect to the terms of the
agreement would be a breach of that obligation and the comt , in
rectifying the instnunent, would be specifically perfo1ming the
agreement. Since the decision in Joscelyne 's case extended the
availability of rectification to cases in which there had been no
enforceable prior agreement, specific perfonnance is plainly an
inadequate explanation of the doctrine. But for present pmvoses the
significance of cases like Lovell and Christmas Ltd v Wall ( 1911) 104
LT 85 is that the tenns of the contract to which the subsequent


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          instrument must confonn must be objectively detennined in the same
          way as any other contract. Thus the common mistake must necessarily
          be as to whether the instrument confonned to those tenns and not to
          what one or other of the paities believed those tenns to have been.


          60.    Now that it has been established that rectification is also available
          when there was no binding antecedent agreement but the paiiies had a
          common continuing intention in respect of a paiticular matter in the
          instrument to be rectified, it would be anomalous if the " common
          continuing intention" were to be an objective fact if it amounted to an
          enforceable contract but a subjective belief if it did not. On the
          contraiy, the authorities suggest that in both cases the question is what
          an objective observer would have thought the intentions of the paities to
          be. Perhaps the clearest statement is by Denning LJ in Frederick E Rose
          (London) Ltd v W;//iam H F;m Jnr & Co Ld [1953] 2 QB 450, 461:



                 "Rectification is concerned with contracts and documents,
                 not with intentions. In order to get rectification it is
                 necessaiy to show that the patties were in complete
                 agreement on the te1ms of their contract, but by an enor
                 wrote them down wrongly; and in this regard, in order to
                 asce1tain the tenns of their contract, you do not look into
                 the inner minds of the patties - into their intentions - any
                 more than you do in the formation of any other contract.
                 You look at their outward acts, that is, at what they said or
                 wrote to one another in coming to their agreement, and
                 then compare it with the document which they have
                 signed. If you can predicate with ce1tainty what their
                 contract was, and that it is, by a common mistake, wrongly
                 expressed in the document, then you rectify the document;
                 but nothing less will suffice."


          61.   Likewise in the Olympic Pride (Etablissements Georges et Paul
          Levy v Adderley Navigation Co Panama SA [1980] 2 Lloyd' s Rep 67,
          72, Musti.11 J said:



                 "The prior transaction may consist either of a concluded
                 agreement or of a continuing common intention. In the
                 latter event, the intention must have been objectively
                 manifested. It is the words and acts of the parties



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      demonstrating their intention, not the inward thoughts of
      the pruties, which matter."


62.    An example of the application of this objective asce1tainment of
the tenns of the prior transaction is George Cohen Sons & Co Ltd v
Docks and Inland Waterways Executive (1950) 84 Lloyd's Rep 97 in
which a landlord negotiating a new lease proposed to the tenant that "the
tenns and conditions contained in the present lease to be embodied in
the new lease where applicable." The tenant accepted this offer, but the
new lease as executed made the tenant liable for repairs which under the
old lease had been the responsibility of the landlord. In answer to a
claim for rectification, the landlord said that the new lease was in
accordance with what he had understood to be the effect of his offer.
The Court of Appeal said that this was inelevant. What mattered was
the objective meaning of what the landlord had written. Sir Raymond
Evershed MR said, at p 107:



      "If the defendants ... did misconstrne [the letter] that is
      unfortunate for them, but at least they cannot be heard to
      say that their letter was intended to mean anything other
      than that which the words convey to the reader as a piece
      of ordinary English."


63.    As against these authorities, there are t\;vo cases upon which Mr
Miles relied. The first is Britoil pie v Hunt Overseas Oil Inc [1994]
CLC 561, in which the Court of Appeal by a majority (Glidewell and
Hobhouse LJJ, Hoffmann LJ dissenting) refused to rectify an agreement
which was alleged not to be in accordance with what had previously
been agreed in summary heads of agreement. Hobhouse LJ, who gave
the majority judgment, affirmed the decision of Saville J, who said that
the defendants had failed to establish that there was a prior common
agreement or intention in tenns that the court could asce1tain or (which
is probably another way of saying the same thing) that the definitive
agreement failed to reflect that prior agreement. In other words, the
language of the heads of agreement was too unce1tain to satisfy the
requirement stated by Denning LJ in Rose 's case that one should be able
to "predicate with ce1tainty what their contract was". Hobhouse LJ
noted that Saville J " did not base himself upon any consideration of the
evidence as to the actual state of mind of the parties" and in my opinion
the case lends no suppo1t to the view that a pruty must be mistaken as to
whether the document reflects what he subjectively believes the
agreement to have been.



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          64.    The other case is the decision of Laddie Jin Cambridge Antibody
          Technology Ltd v Abbott Biotechnology Ltd [2005] FSR 590, in which
          he rejected a submission that evidence of the subjective state of mind of
          one of the pmties contained in statements which had not been
          communicated to the other party ("crossed the line") was inadmissible.
          In my opinion, Laddie J was quite right not to exclude such evidence,
          but that is not inconsistent with an objective approach to what the te1111s
          of the prior consensus were. Unless itself a binding contrnct, the prior
          consensus is, by definition, not contained in a document which the
          pmties have agreed is to be the sole memorial of their agreement. It
          may be oral or in writing and, even if the latter, subject to later variation.
          In such a case, if I may quote what I said in Carmichael v National
          Power plc [1999] 1 WLR 2042, 2050 - 2051:



                 "The evidence of a pmty as to what tenns he understood to
                 have been agreed is some evidence tending to show that
                 those terms, in an objective sense, were agreed. Of course
                 the tribunal may reject such evidence and conclude that
                 the party misunderstood the effect of what was being said
                 and done. "


          65.    In a case in which the prior consensus was based wholly or in
          part on oral exchanges or conduct, such evidence may be significant . A
          pmty may have had a clear understanding of what was agreed with out
          necessarily being able to remember the precise conversation or action
          which gave rise to that belief. Evidence of subsequent conduct may also
          have some evidential value. On the other hand, where the prior
          consensus is expressed entirely in writing, (as in George Cohen Sons &
          Co Ltd v Docks and Inland Waterways Executive (1950) 84 Lloyd' s
          Rep 97) such evidence is likely to cany ve1y little weight. But I do not
          think that it is inadmissible.


          66.     In this case there was no suggestion that the prior consensus was
          based on anything other than the May letter. It is agreed that the tenns of
          that letter were accepted by Chmtbrook and no one gave evidence of any
          subsequent discussions which might have suggested m1 intention to
          depaii from them. It follows that (on the assumption that the judge was
          right in his constrnction of the ARP definition) both pmties were
          mistaken in thinking that it reflected their prior consensus and
          Persimmon was entitled to rectification.




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67.    Since, however, I think that the judge and the majority of the
Court of Appeal were wrong on the question of construction, I would
allow the appeal on that ground.



LORD RODGER OF EARLSFERRY


My Lords,


68.     I have had the privilege of considering the speeches of my noble
an d learned friends, Lord Hoffmann and Lord Walker of Gest.ingth01pe,
in draft. For the reasons which they give, I consider that the
construct.ion favoured by Persimmon is appropriate. In pm1icular, it
seems to me that once you grasp the general strncture of schedule 6 of
the agreement, as described by Lord Walker in para 79 of his speech, the
appropriate interpretation becomes clear.


69.    Like Lord Hoffmann, I would decline cotmsel's elegant but, in
the event, unnecessary invitation to revisit the rule in Prenn v Simmonds
[1971] 1 WLR 1381. No-one could possibly say that the rule is based
on some enor of law or misconception. On the contra1y, the main pros
and cons of having regard to prior negotiations when interpreting a
fo1mal contract have been known and discussed for centuries. The
present law represents a choice which was already second nature to the
Earl of Eldon LC as long ago as Millers v Miller (1822) 1 Sh App 309.
When inte1preting a clause in a maniage contract which had been
preceded by " a vast deal of conespondence", the Lord Chancellor
assured the House that he did not recollect a case to which he had given
more earnest attention, but still gave the conespondence short slu·ift, at p
317:



       "My Lords, all the previous conespondence I lay entirely
       out of the case, because I cannot conceive that any thing
       can be more dangerous than the construing deeds by the
       effect of letters and correspondence previous to the
       execution of them."

Subsequently, at p 3 19, he described the possibility of looking at the
effect of the conespondence as "a ve1y singular thing". Some sixty
years later, with rather more deliberation, the House affmned that
approach in Inglis v John Buttery (1873) 3 App Cas 552 and, a centmy


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          after that, reaffirmed it in Prenn v Simmonds [1971] 1 WLR 1381. The
          rule could scarcely be more fomly embedded in our law.


          70.     Of course, in Miliangos v George Frank (Textiles) Ltd [1976] AC
          443 the House departed from a rule, of which Lord Denning had said
          some fifteen years previously, " if there is one thing clear in our law, it is
          that the claim must be made in sterling and the judgment given in
          sterling": In re United Ra;/ways of Havana and Reg/a Warehouses Ltd
          [1961] AC 1007, 1068-1069. But not only was that rule essentially
          procedural: in addition, the House could point to a change of
          circumstances which seemed to cry out for intervention. Here, by
          contrast, the rule about prior negotiations fo1111s pait of th e law of
          evidence and there are no particular pressing circumstances which call
          for a change. The House is simply being asked to make a fresh policy
          decision and, in effect, to legislate to provide for a different rule. The
          wisdom of the proposed change is, however, debatable. So, if there is to
          be a change, it should be on the basis of a fully infonned debate in a
          fornm where the competing policies can be properly investigated and
          evaluated.    Although counsel presented the rival arguments with
          conspicuous skill, your Lordships' House in its judicial capacity is not
          that forum.


          71.  Like Lord Walker, I see no reason to differ from what Lord
          Hoffmann has said on rectification.



          LORD WALKER OF GESTINGTHORPE


          My Lords,


          72.    I shall fn·st address, on a traditional approach, the issue of
          constrnction raised in this appeal. That approach requires the comt to
          consider the disputed definition of "Additional Residential Payment" in
          the context of th e agreement as a whole, and the pa1ties' shared
          understanding of the general situation and the aim of the transaction
          they were entering into.


          73.    The owner (Chartbrook) had assembled a site off Wandsworth
          High Street, London SW18 (Numbers 1,3,5,7 and 9 Hardwicks Way),
          with valuable potential for development. Under the agreement dated 16


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October 2001 the developer (Persiimnon Homes, a subsidiary of a well-
known quoted company which guaranteed the developer' s obligations)
had the responsibility of applying for plannii1g pennission for a mixed
commercial and residential development in a fonn approved by the
owner.     The agreement was conditional on the developer obtaii1ii1g
planning pennission ii1 a satisfacto1y form within 15 months (subject to
extension in certain circumstances).       If planning pennission in a
satisfacto1y fonn was obtained the owner would continue as registered
owner of the site, but would execute a charge of the prope1ty as security
for its obligations to the developer. The developer would occupy the
site as a licensee and cany out the development at its own expense,
includii1g responsibility for insurance. The developer's obligations in
canyii1g out the residential development (by th e constrnction of flats)
were not prescribed in detail. Its obligations in carrying out the
commercial development were limited to what were described as "core
and shell works".


74.     As the flats were developed they were to be marketed by the
developer, at its own expense, and sold (together with parking spaces)
on 125-year leases at escalating ground rents. The commercial
development, when the core and shell works were completed, was to be
sold to a nominee of the owner on a 125-year lease at a peppercorn rent.
There was to be a premium calculated at the rate of £110 per square foot
of the net internal area of the commercial premises (plus VAT). The
developer was also to negotiate the evenhial sale of the freehold subject
to all these leases. The owner was under an obligation to grant all the
necessary leases and to make the eventual transfer of the freehold.


7 5.   As I have mentioned, the agreement did not provide in detail for
the specification or cost of the construction by the developer of the
residential part of the development - that is, the flats. The owner had to
approve the planning application, and the developer had to meet NIIDC
standards, but that was all. In particular, the developer did not commit
itself to any particular level of expenditure, with two minor exceptions:
the developer unde1took to spend a sum of at least £250,000 on plannii1g
gain through an agreement under section 106 of the Town and Count1y
Planning Act 1990, and to pay at least £25,000 in compensation to
a.djoinii1g owners for the loss of rights to light. There was also an
w1qua.ntified contingency sum for dealing with possible pollution ii1 the
sub-structure. These three items were to be deducted in computing the
Total Residential Land Value ("TRLV") for the purposes of schedule 6
(the Price) but there was nothing at all ii1 the agreement providing for
the developers' overall profit as such to be computed and brought into
the bargain.


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          76.      All this is background, but to my mind relevant background, to
          the problem at the heait of this appeal, that is the con-ect construction of
          the definition of the Additional Residential Payment ("ARP") set out in
          para. I of schedule 6. The ARP (also pointlessly relabelled as th e
          Balancing Payment) is one of two components which had to be
          aggregated to make up the Price- that is, the total consideration payable
          by the developer to the owner. The other component was the Total Land
          Value ("TLV"), that is the aggregate of (i) the TRLV already
          mentioned; (ii) th e Total Commercial Land Value ("TCLV") and (iii)
          the Total Residential Car Parking Land Value ("TRCPLV"). Under
          para 3 of schedule 6 the TLV was payable by instalments over 52
          months, start ing nine months after the grant of planning permission, and
          the ARP was payable on completion of the last residential sale or six
          months after the completion of the development, whichever was the
          earlier.


          77.    Each of the three components of the TLV was defined by a
          fonnula. The TRLV was to be computed by reference to the net internal
          area of the residential units for which planning permission was obtained
          at the rate of £76.34 per square foot ("less the section 106 money and
          less the rights of light money and less the sub-structure assumptions
          additional cost"). The TCLV was to be computed by reference to the
          net internal area of the commercial premises for which planning
          permission was obtained, at the rate of £38.80 per square foot. The
          TRCPLV was to be £3,024 multiplied by the number of residential
          parking places for which plam1ing pe1111ission was obtained.


          78.    Both paities were experienced in the prope1ty world-the owner
          as a land dealer, the developer as a developer- and they shared the
          knowledge that the site (including units 1 and 3 Hardwicks Way which
          the owner acquired during the negotiations), with the benefit of planning
          permission on favourable terms, would have a market value in the
          general region of £5111.    They hoped that planning permission for
          residential development would be granted for up to 100 flats with an
          aggregate internal area of 50,000 to 60,000 square feet.             The
          background facts known to the parties included the recent takeover by
          the developer's group of Beazer Hornes Ltd, as a result of which the
          developer decided that it could not afford an outright purchase of the
          Wandsw01th site. Instead the purchase was to be funded out of the
          proceeds of the disposal of the development, and the owner would
          expect to be compensated for the defe1111ent of its consideration.




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79.    The definitions that I have already mentioned, and others, such as
Costs and Incentives ("C&I"), that I have yet to come to, can be quite
confusing. It is imp01tant, I think, to discern and keep in mind the
general structure of schedule 6 of the agreement. The components of the
price referable to the commercial development (TCL V) and the
residential parking (TRCPLV) were to be calculated under the simple
formulae already mentioned (together they eventually amounted to
about £1.727111). By contrast, the price for the residential development
was to consist of t\¥0 elements, the TRLV and the ARP. The TRLV is
agreed to be approximately £4.684m, reflecting the approved residential
internal area of rather over 61,000 square feet at £76.34 per square foot.
The question is how much this sum has to be increased by the ARP to
make up the owner's total consideration for the residential development.


80.    The ARP is defined as follows:



       "23 .4% of the price achieved for each Residential Unit in
       excess of the Minimum Guaranteed Residential Unit
       Value ['MGRUV'] less the [C&I]"

The amount of the C&I is agreed to have been relatively trivial - a little
less than £250,000 for all 100 flats - and I put it aside for the moment,
while recognising that it plays an imp01iant pari in the technicalities of
the argument on constrnction. If this item is disregarded for the moment
the disputed text can be set out in a sin1plified fonn, using "RP" (for
residential price) where the judge and the Comi of Appeal refened to
Unit Price:

       "23.4% of the RP in excess of the MGRUV" .


81.    The MGRUV was defined as meaning:



       "for each Residential Unit [ie each flat] the [TRLV]
       divided by the number of Residential Units for which
       Planning Pe1mission is granted".

Under the plarming pe1mission eventually granted on 23 August 2002
there were to be exactly 100 flats, which sin1plifies the arithmetic.
Neve1iheless it may be unfo1iunate that the draftsman chose to define
the ARP by a formula refening to the MGRUV rather than by refeITing
directly to the TRLV (to which the MGRUV is directly linked, being, as


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          events turned out, one per cent of it).       The use of the two linked
          fonnulae rather than one, and the fact that the fonnulae are not set out in
          mathematical notation, make it harder to keep clearly in mind the
          structure of the anangements contained in schedule 6.


          82.    Briggs J expressed the issue in paras 20 and 21 of his judgment:



                 "Leaving aside for the moment the point at which the C&I
                 are deducted, the broad commercial effect of each of the
                 parties' rival submissions may be summarised as follows.
                 Chmtbrook' s case was that it was entitled to a 23.4% share
                 of the net proceeds of sale of each Residential Unit in
                 excess of a minimum guaranteed amount (being the
                 unitised Total Residential Land Value of £76.34 per
                 square foot of Residential Net Internal Area). Put an other
                 way, its stake in the residential pali of the development
                 was to be the whole of the first £76.34 per square foot of
                 net sales value, and 23.4% of the surplus.

                 By contrast, Persimmon's case was that Chmtbrook was to
                 receive an additional payment only if 23.4% of the net
                 sales price amounted to more than the Minimum
                 Guaranteed Residential Unit Value. Put more broadly,
                 Chartbrook' s stake in the residential pmt of the
                 development was whichever was the greater of :
                     (i)   23.4% of the net residential sales price; and,
                     (ii)  the guaranteed minimum of £76.34 per square
                           foot of Residential Net Internal Area."


          83.     That is, with great respect to the judge, a confusing way of
          putting it, because it fails to distinguish between the two elements of the
          price for the residential development and to make clear whether it is
          addressing both elements, or only the ARP. The owner was to get the
          TRLV in any event, as the most impo1tant component of the TLV (a
          point that may be reflected in the expression "in excess of' in the
          definition of the ARP). Indeed paras 20 and 21 of the judgment are to
          my mind two ways of describing the same result, unless th e judge
          intended para 20 to state the owner' s view of the ARP alone, and para
          21 to state the developer's view of the TRLV and the ARP operating in
          conjunction.




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84.   In his brief judgment Rimer LJ quoted the definition of the ARP
and observed in para 183:



      "There is nothing unclear, unce1tain or ambiguous about
      that.    It is clear, certain and unambiguous and its
      arithmetic is straightfo1ward".

Tuckey LJ agreed. With profound respect to both of them, I totally
disagree. The definition is obviously defective as a piece of drafting.
To stmt with defects that can be spotted and remedied fairly easily, the
draftsman could not decide whether he was dealing with the flats (" each
Residential Unit") collectively or individually. The MGRUV was one-
hundredth of the TRLV, but the C&I was plainly defined as a single
aggregate figure.


85.    Much more significantly and problematically, the draftsman has
failed to notice the ambiguity of the fonnula "x per cent of the RP in
excess of the MGRUV less th e C&I". The ambiguity could be resolved
by the use of mathematical notation, as the judge observed in paras 18
and 19 of his judgment (though he did not mention that there was also a
choice to be made as to putting another set of brackets round MGRUV -
C&I, so producing four possibilities rather than two).


86.    Treated acontextually, the formula "x per cent of A in excess of
B" is undoubtedly ambiguous. It can mean (x/ 100 x A)-B or x/l00(A-
B). If required to guess I would opt for the latter meaning, because the
expression "in excess of' has been used rather than " less", and to my
mind "in excess of' suggests a focus on B as an integer and distances it
from the percentage. But I readily accept that this would be little more
than guesswork.


87.    In a contract negotiated between businessmen there always is a
commercial context. If a contracting pa1ty agrees to pay the whole of
some budgeted cost (B, say £100,000) and also agrees to pay 25% of the
eventual actual cost (A, say £140,000) in excess of the budgeted costs,
he would expect to pay a total of £110,000. Both elements of the
obligation are, as it were, in the same cunency, that is, cost, and the
wording of the second element naturally translates into the formula
¼ (A-B), as (¼A)-B would be commercial nonsense. The owner can
therefore give plausible examples in which ¼(A-B) would obviously be
the right answer. But th e present appeal is not such a case.



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          88.     In this case the ve1y significant difference between the results
          produced by the competing fonnulae is demonstrated in the figures set
          out in para 14 of the judgment of Lawrence Collins LJ in the Comt of
          Appeal. The difference between the two bottom lines (£5,580,616 and
          £9,168,427) is £3,587,811. That difference figure is 76.6% of the
          TRLV (£4,683,565). On the owner' s case it gets one hundred times the
          MGRUV as the TRLV, but in effect has to give credit for only 23.4% of
          it in the calculation of the ARP. That seems to be a fairly surprising
          bargain for commercial men to make. It becomes not merely surprising
          but totally incredible if one takes account of the fact that although
          schedule 6 does not in tenns state that the ARP is to have no value
          unless the actual receipts from sales of flats exceed the TRLV, that is
          implicit in its struchire. On the owner' s construction any such limitation
          is contradicted, and the ARP has a substantial value even if th e sales do
          not reach the "trigger point" of £20.0lSm (23.4% of which is £4.684m).


          89.    This can be illustrated by considering the effect of the competing
          fonnulae (set out in paras 18 and 19 of the judge's judgment, but
          continuing to exclude C&I for the present) for assumed residential sale
          price totals (RP) of £18111, £20m, £20.0lSm (the trigger point), £22m
          and £23.849m (the achial result):

                            Owner's Const111ction               D eveloper's Const111ction

                      23.4%(RP-MG) =             ARP      (23.4%RP)-MG =                     ARP
              RP


           18.000     23 .4%(18.000-4.684) =   3.116      (23.4%   X   18.000)-4.684 =   Negative


           20.000     23.4% (20.000-4.684) =   3.584      (23.4% X 20.000)-4.684 =       Negative


           20.015     23.4%(20.015-4.684) =    3.587      (23.4o/ox 20.015)-4.684 =          Zero
           Trigger
           Point


           22.000     23.4%(22.000-4.684) =    4.052      (23.4%   X   22.000)-4.684 =       0.464


           23.849     23.4%(23.849-4.684) =     4.485     (23.4% X 23.849) - 4.684 =         0.897
           Actual
           Result

          RP = Total actual receipts from residential sales
          MG = Total Residential Land Value (100 x MGRUV)
          All amounts in £m




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The figures are, on the o,;vner' s construction, commercial nonsense.
They would bring the owner a total of £7.8m for the residential
development (£4.684m + £3.116m) even if sales of flats were
disastrously low at £ 18m. The idea of the TRLV (linked as it is to the
MGRUV) as a guaranteed minimum would be totally subve1ted.


90.    The judge accepted that there was some force in the developer' s
reliance on the words "if any" which occur in para 3 .3 of schedule 6
with reference to the Balancing Payment (alias the ARP). He saw less
force in the submission that he should give weight to the natural
meaning of the expressions "minimum", "guaranteed" and "additional"
in the definitions of the MGRUV and the ARP, on the ground that by
the use of a special definition " [t]he word or phrase is stripped of its
natural meaning"(para 61). In prefe1Ting the owner' s submissions the
judge attached pmt icular weight to the difficulty (for the developer) of
explaining the words "less the C&I". The judge observed (paras 55-
57):



       "An equally serious problem with Persimmon's
       construction is what to do with the subtraction of the C&I.
       It is common ground that the Costs and Incentives have a
       linear relationship with th e amOlmt of the price achieved
       for each Residential Unit. For example, Persimmon may
       agree the sale of a flat for £250,000 after incu1Ting Costs
       and Incentives of say £50,000 or, with the same
       commercial consequence, sell the same flat for £200,000
       but incur no Costs and Incentives. Typical Incentives
       would include payment of th e purchaser ' s legal fees or
       stamp duty, or the installation of special features such as
       wooden floors, over and above the standard fit-out
       specification.

       One would expect Chmtbrook's profit share to be
       unaffected, one way or the other, by the decision of
       Persiimnon to sell a pmticular flat by one or other of those
       methods (high price plus Incentives or low price without
       Incentives). Chartbrook' s construction, under which the
       Costs and Incentives are deducted from the price achieved
       for each Residential Unit before the application of the
       23 .4% share, fulfils precisely th at expectation.

       By contrast, P ersimmon 's construction deducts the C&I
       from the 23.4% of the price achieved for the Residential


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                 Unit before the net amount is compared with the MGRUV,
                 to asce1tain whether there is any excess. By comparison
                 with Chartbrook's constmction, that calculation magnifies
                 the negative effect of C&I by a factor of more thar1 3 in
                 comparison with the positive effect of the increase in the
                 Residential Unit Price attributable to the C&I."


          91.    Lawrence Collins LJ took a different view, and I unhesitatingly
          prefer his view. His reasons are set out clearly in paras 90 to 94 of his
          judgment, and I cannot usefolly add much to them. But I would make a
          few fmther comments.


          92.      The first is as to the perceived problem about C&I. It is true that
          from the developer's point of view it made little or no difference (except
          perhaps for timing and tax) whether or not, in relation to a particular
          flat, it spent an extra £2,000 on parquet flooring or granite worktops and
          managed to sell the flat for £2,000 more as a result. But it did make a
          marginal difference to the owner, as its ARP was calculated (in some
          way or other, on any view) by reference to the total achieved by
          residential sales: that is, by reference to the developer's turnover and not
          by reference to the developer's profit (the judge's reference to
          "Chartbrook's profit share" was not therefore entirely apposite). So (to
          adopt the expression used in the comts below) C&I had a linear
          relationship for the developer, but not for the owner. It would therefore
          have made sense for the paities to have agreed that C&I expenditure and
          allowances should be deducted from the total obtained for residential
          sales for the purposes of these computations (rather as the section 106
          money ar1d the rights of light money were to be disregarded in
          computing the TRLV). But it would not make sense to deduct the
          whole of the C&I from 23 .4 per cent of the total obtained for residential
          sales.


          93.    Rimer LJ gave an example (para 185) to reinforce his view about
          the C&I. His example produces very odd results but that is partly
          because the figures taken are umealistic. If one takes more realistic
          figures (such as a nonnal average sale price of £200,000 with C&I of
          £2,500 and an MGRUV of £47,500) the result is much less surprising.
          But it is still anomalous and makes no commercial sense, as Lawrence
          Collins LJ observed. An ARP of (23.4% of [RP less C&I]) less
          MGRUV does make commercial sense, and in my opinion it is well
          within the principles in Antaios Cia Naviera v Salen Rederiana AB
          [1985] AC 191, 201 and Investors Compensation Scheme Ltd v West
          Bromwich Building Society [1998] 1 WLR 896, 912-913, to read the
          agreement in that way.


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94.     I am sure that Lawrence Collins LJ was right to give a lot of
weight to the tenns "minimum", "guaranteed" and "additional" in the
relevant definitions. There is a good deal of authority, if authority is
needed, to give weight to the natural meaning of words in a definition.
In relation to statut01y definitions there are the observations of my noble
and learned friend, Lord Hoffmann, in Macdonald v Dextra Accessories
Ltd [2005] 4 All ER 107, para 18 and Birmingham City Council v
Walker [2007] 2AC 262, para 11 and Lord Scott of Foscote in
Oxfordshire County Council v Oxford City Council [2006] 2 AC 674,
paras 82-83. I would apply the same prin ciple to a definition in a
commercial contract.


95.    That brings me back to what I said earlier about the need, in the
midst of a thicket of rather confusing definitions, to keep in m ind the
general structure of the bargain. As pai1 of the TLV the owner was to
receive the TRLV, the total residential land value, representing the
estimated value attributable to land which would (on the agreement
becoming unconditional) have the benefit of a favourable planning
pennission for residential development (but on which development had
not yet taken place). The developer was to bear all the costs of the
development. The owner was also to have the prospect of an additional
payment, the ARP. As regards the residential development the bargain
could have been expressed between businessmen as "a guaranteed
minimum of the first £76.34 per square foot of residential internal area
from the total proceeds of the flats, and 23.4% of the excess" (indeed the
judge, in para 20 of his judgment, summarised the owner's case in very
similar tenns, except that he used "surplus" rather than "excess"). If one
approaches it in that way, the developer's case as to the meaning of the
definition is not merely linguistically possible, but is linguistically (as
well as commercially) compelling. The owner' s case becomes plausible
only if one concentrates on the ARP, forgetting the TRLV (to which the
MGRUV is directly linked). Lawrence Collins LJ dealt with this point
quite briefly, in paras 81 and 93 of his _judgment. He must have thought
it unnecessaiy to spell it out more fully.       But as he ended in the
minority I have dealt with the point more fully.


96.      Since prepaTing this opinion I have had the privilege of reading in
cl.raft the opinion of my noble and learned friend, Lord Hoffmam1. In
paras 1 to 22 of his opinion Lord Hoffmam1 reaches precisely the same
conclusion as I have reached in regard to the c01Tect construction, by
traditional methods, of the agreement. I agree with all his reasoning,
which is essentially the same as my own, but more tJ.·enchantly
expressed. I have however thought it w01thwhile setting out my own
more pedestrian route to the conclusion that this House should, without



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          having to depmt from established principles of construction, allow the
          appeal and dismiss Cha1tbrook' s claim.


          97.    I have also read with interest and admiration Lord Hoffmann' s
          observations, in the remaining pmt of his opinion, on the impo1tant
          questions that we do not have to decide. I would not differ from any of
          these views. In paiticular, I agree that Karen O!tmann is a questionable
          application of the "private dictionmy " principle, since the meaning of
          the English word "after" can hardly be equated to the use of a technical
          or trade tenn.



          BARONESS HALE OF RICHMOND


          My Lords,


          98.    I too have had th e privilege of reading in draft the opinions of my
          noble and learned friends, Lord Hoffinann and Lord Walker of
          Gestingthorpe. For the reasons they give, together with those of
          Lawrence Collins LJ in the Comt of Appeal, I agree that Persimmon' s
          constrnction of this contract is co1Tect and that this appeal should be
          allowed.


          99.    But I have to confess that I would not have found it quite so easy
          to reach this conclusion had we not been made aware of the agreement
          which the patties had reached on this aspect of their bargain during the
          negotiations which led up to the formal contract. On any objective view,
          that made the matter c1y stal clear. This, to me, increased the attractions
          of accepting counsel ' s eloquent invitation to reconsider the rule in P rem,
          v Simmonds [1971 ] 1 WLR 1381, the pot so gently but effectively
          sti1Ted by Lord Nicholls of Birkenhead in his Chance1y Bar Association
          lecture of 2005 ([2005] 121 LQR 577). My experience at the Law
          Commission has shown me how difficult it is to achieve flexible and
          nuanced refonn to a rule of the common law by way of legislation . In
          the end abolition may be the only workable legislative solution, as
          eventually happened with the hearsay rule (Law Com No 216 (1993),
          The Hearsay Rule in Civil Proceedings). Even that can prove difficult if,
          on analysis, the view is tak en that the rule has no real content, as with
          the parol evidence rule (Law Com No 154 (1986), The Paro! Evidence
          Rule). The comt s, on the other hand, are able to achieve step-by-step




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changes which can distinguish cases in which such evidence is "helpful"
from cases in which it is not.


100. However, the approach to rectification adopted by Lord
Hoffmann would go a long way towards providing a solution. If the test
of the parties' continuing common intentions is an objective one, then
the comt is looking to see whether there was such a prior consensus and
if so what it was. Negotiations where th ere was no such consensus are
indeed "unhelpful". But negotiations where consensus was reached are
very helpful indeed. If the language in the eventual contract does not
reflect that consensus, then unless there has been a later variation of it,
the formal contract should be rectified to reflect it. It makes little sense
if the test for construing their prior consensus is different from the
objective test for construing their eventual contract. This situation is,
and should be, quite different from the situation where one pmty is
mistaken as to its meaning and the other pmty knows this - the latter
should not be pennitted to take advantage of the former.


101. For those reasons, I would respectfully associate myself, as does
Lord Walker, with the views of Lord Hoffmann on the issues which we
do not have to decide. In pmticular, I would like to express my
admiration for the skill and charm with which both issues were argued
by counsel on each side. It is perhaps surprising that questions of such
practical and theoretical importance in the law of contract should still be
open to debate and development. But that is also the great strength of the
common law.




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